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                       UNITED STATES DISTRICT COURT FOR THE
                          EASTERN DISTRICT OF CALIFORNIA




UNITED STATES OF AMERICA,                              Case No. 2:12-CR-00169-12-MCE

                      Plaintiff,
         v.                                            ORDER FOR RELEASE OF PERSON
                                                       IN CUSTODY
BRUCE THURMON,

                  Defendant.
______________________________/


TO: THE UNITED STATES MARSHAL SERVICE.

This is to authorize and direct you to release BRUCE THURMON, No. 2:12-CR-00169-12-MCE,
from custody for the following reasons:

___            Release on Personal Recognizance
___            Bail Posted in the Sum of $
___            Unsecured Appearance Bond
___            Appearance Bond with 10% Deposit
___            Appearance Bond with Surety
___            Corporate Surety Bail Bond
 X             Other: pursuant to the Court’s sentence of time served, the defendant is ordered to
               be released forthwith.




Issued at Sacramento, California on July 2, 2015, at 9:21 a.m.

DATED: July 2, 2015


                                             ______________________________________
                                             MORRISON C. ENGLAND, JR.
                                             CHIEF UNITED STATES DISTRICT JUDGE
